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3 THE REICH LAW FIRM
8441 N. MILLBROOK, SUITE 104
4 FRESNO, CA 93720
PHONE: 559-440-1191; FAX: 559-432-9092
a
. Attorneys for Petitioner, Sona Vartanian
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UNITED STATES DISTRICT COURT
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0 CENTRAL DISTRICT OF CALIFORNIA
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4 EASTERN DIVISION
SONA VARTANIAN,
12
Petitioner/Plaintiff, Case No. 5:20-cv-01358
L3
Vv.
14
BARSTOW COMMUNITY RELIEF SOUGHT: TEMPORARY
15 | COLLEGE, LEOPOLDO C. RESTRAINING ORDER AND
SANTIAGO, and PRELIMINARY AND PERMANENT
16 | LAURA BENSON, INJUNCTIVE RELIEF
17 | Respondents/Defendants.
18 VERIFIED COMPLAINT
19 This complaint seeks equitable relief to enjoin Defendants/Respondents from

20 | conducting an interrogation of Plaintiff/Petitioner (which Respondents have

21 | characterized as an “administrative interview”) concerning accusations made against
22 | Petitioner by her colleagues at Barstow Community College (“BCC”), Petitioner’s
23 | employer, while depriving Petitioner of her rights of due process under the United

24 | States Constitution.

25

26 Parties

27 1. Petitioner, Sona Varatanian, is employed by Respondent BCC as a professor
28 of mathematics.

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VERIFIED COMPLAINT

 

 

 
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2. BCC is located at

2700 Barstow Road
Barstow, California 92311
760.252.2411

. Laura Benson is Interim VP Human Resources. Ms. Benson’s contact

information is as follows:
2700 Barstow Road
Barstow, California 92311
760.252.2411
lbenson@barstow.edu

. Leopoldo C. Santiago is the attorney and interrogator hired by BCC to

conduct the interrogation of Petitioner and the investigation of the accusations
targeting Petitioner. Mr. Santiago’s contact information is as follows:

Leopoldo C. Santiago
Erickson Law Firm

2878 Camino Del Rio South
Suite 115

San Diego, CA 92108
LSantiago@ericksonlaw.com

Jurisdiction And Venue

. This court has jurisdiction of this civil rights dispute, brought pursuant to 42

USS.C. § 1983, pursuant to 28 U.S.C. § 1343(3).

Facts

. Plaintiff, Sona Vartanian, a professor of mathematics, has been employed at

BCC for twenty years. Defendants BCC and Ms. Laura Benson, Interim Vice
President, Human Resources at BCC, have informed Petitioner that she will
be interviewed by BCC’s attorney Leopoldo C. Santiago concerning

allegations that Ms. Vartanian has engaged in “multiple instances of

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VERIFIED COMPLAINT

 
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harassment, discrimination, and unprofessional and inappropriate conduct.”
Other than these four broad, conclusory characterizations of conduct over the
course of about nine months, BCC and Benson have pointedly refused to
provide to Ms. Vartanian any information about the nature and substance of
the allegations prior to Ms. Vartanian’s making herself available to be
interrogated.

7. In addition, BCC and Benson have on several occasions refused Ms.
Vartanian’s request to be allowed to have counsel of her choosing present
during any interrogations. Because of the nature of the accusations, Ms.
Vartanian’s utter bewilderment about any possible bases for such accusations,
and the insistence of the Defendants that Ms. Vartanian must subject herself
to an interrogation without the benefit of counsel and without an opportunity
to understand the accusations that target her and her continued employment
prior to the interrogation for which she is the admitted target, Petitioner has a
well-founded belief that the interrogation may be a prelude to decision by
Respondents to discipline her or even to deprive her of her constitutionally-
protected interest in her continued employment and her expectation that she
will be allowed to earn her salary free from arbitrary administrative action.
Petitioner is ready and willing to be interrogated, but only under conditions

that respect her constitutional rights of due process.

WHEREFORE, Plaintiff/Petitioner Sona Vartanian prays that the Court grant
the following relief:
a. a temporary restraining order restraining respondents from interrogating
petitioner while denying her requests (a) to be informed of the nature of the
accusations against her prior to the commencement of any interrogations, and (b)
to be assisted by counsel of her choice in any interrogations concerning her

alleged misconduct;
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VERIFIED COMPLAINT

 
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| b. issuance of an order directing Respondents to show cause why they should
“ not be preliminarily and permanently enjoined from interrogating petitioner
3 while denying her requests (a) to be informed of the nature of the accusations
4 against her prior to the commencement of any interrogations, and (b) to be
9 assisted by counsel of her choice in any interrogations concerning her alleged
6 misconduct;
7 c. issuance of an order setting this matter for hearing within 28 days of the date
8 of any order granting or denying the relief requested above
9 d. a permanent injunction enjoining Defendants from interrogating Plaintiff
10 while denying her requests (a) to be informed of the nature of the accusations
11 against her prior to the commencement of any interrogations, and (b) to be
12 assisted by counsel of her choice in any interrogations concerning her alleged
13 misconduct;
14 e. an award of attorney’s fees pursuant to 42 U.S.C. § 1983 and 42 U.S.C. §
1.5 1988; and
16 f. such other relief as to which Plaintiff may show herself entitled.
17

18 Dated: July 7, 2020.

 

Le Respectfully submitted,
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THE REICH LAW FIRM
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22 Jeff Reich,
wa Att for’Petitioner Sona Vartanian
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‘ VERIFICATION

3 I, Sona Vartanian, declare:

1. Ihave reviewed all factual allegations herein. They are within my personal
knowledge, and I could testify competently thereto, except for those matters

7 alleged on information and belief and as to those matters I believe them to be
correct.

10 2. Iam the plaintiff in the instant action and the moving party on this pending

11 application for ex parte relief, to wit: a temporary restraining order and a

Le preliminary injunction.

13
I declare under penalty of perjury under the laws of the United States of
14

15 America that the foregoing is true and correct and that this declaration is

16 executed in Fresno, California, on July 7, 2020.

a aa a eo.
18 CSona Vartanian

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